EXHIBIT 1

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NORTH CAROLINA

WESTERN DIVISION site ama
Neo, $2+202-CIV-5-BR PILED
RUTH O. SHAM, et all, Ruc'g 0 1986
Plaintifés, DAVIS WW, CANIS, CLERK
U8 DISTRICT COURT
and EIST. NO. GAR

JAMES ARTHUR "ART" POPE,
ek ali,

Plaintiff-Intervenors,

vi ORDER

JAMES 8, HUNT, OR., et ab
Defendants,

and

RALPE GINGLES, eb ab.,

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Dezendanzi-Intervenors,

This matter is before thea csurt on remand from the
Supreme: Court oF the United States "for further preceedings in
conformity with the opinion of [that] cours" which, reversing cur
decision, sea 861 F, Supp. 408, held North Carolina's present
congrasgicnal districting plan unconstitutional because "Diatriat
12 is not narrowly tailored to the State's asserted interest in
complying with § 2 of the Voting Rights Act." Shaw v. Hunt, 64
U.S,U.W, 4437, 4443 (U.S. gune 13, 1996),

Following ‘the vemand, we permitted the filing hy
plaintiffs and plaintiff-intervenors of an amended complaint which,

by adding additional parties with standing to.do so, challenged on

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similar grounds District 1 in the State’s plan. ‘Thig challenge, in
the form of an added claim, hag baan put in issue by ‘answers filed
by the state defendants and the intervenor-defendants, and by
plaintiff-intervenors’ motion for summary judgment to which no
response is yet due.

Two issues are thus presented: (1) proper disposition of
thea added District 1 claim, and (2) the appropriate remedy to be
oxdered for the specific constitutional violation found by the
Supreme Court respecting District 12,

1, Because the challenge to Districc 1 will almost
certainly be mooted in the remedial process next to be ordered, we
defer consideration ef that claim pending further orderg of this
cours.

2, To ramedy the constitutional viclation found by the
Supreme Court, if is ORDERED that: the State of North Carolina is
heresy ENJOINED from conducting any elections for congressional
offices under the redistricting plan enaczed as 1591 N.C. Extr
Sess. Laws, Ch. 7, azter these regularly acheduled for 1996.

3, it is further ORDERSD that, in exercise of this
court’s equitable power to withhold the grant of immediately
effective relief for found constitutional viclationsa in legislative
distzicting plang in order to avoid undue disruption of ongoing
state electoral processes, the 1996 primary elections already held
for congressional offices are hereby validated and the 1996 general

election for those offices may proceed as scheduled under state law

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te elect mambars of congréié uider thé éisting redistricting plan,
Revnglds v, Sima, 377 U.S. 533, 585 (1964).

4, It ig further ORDERED that the mattex of providing a
rediscricting plan which for post-1996 ééngressional elections will
remedy tha constitutional violation found by the Suprema Court is
referred to the North Carolina General Assembly for exercise of icg

primary turisdiction, Wise v. Lipscomb, 437 U.S. 535, 539 (1978),

That primary jurisdiction should be exercised as expeditiously as
possible by the adoption and submission to this court for approval
of 2 districcing plan effective for the purpose. Failing such a
submission by April 1, 1997, this court will discharge its

obligation to develop and put into effect an appropriate remedial

6, This cours retains jurisdiction fox suc! gursher
action and proceedings as aze required,

his order is. entered by a majority cf the three-judge
court. Chief Judge Voorhees dissents from those portions which
withhold immediate relief, Both the couxc majority and Chief cudge
Yoorkees will as quickly as possible issue memorandum opinions

explaining their positions.

This ao July 1996.

J, DICKSON PHILLIPS, UR. -
Senior United Statas Circuit Judga
W, EARL BRIT?

United States District Judge

“ o une
By: LLL IE

W,. BARE BRITT
United States District Judge

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Case 5:15-cv-00156-D Document 84-1 Filed 07/18/16 Page 4 of 6

UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF NORTH CAROLINA be ems
WESTERN DIVISION f

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UB, DISTRICT COURT
JUDGMENT IN A CIVIL cABBIST NO. CAR

RUTH ©. SHAW, MELVIN G, SHIMM,
ROBINSON 0. RVERETT, JAMES M.
EVERETT, DOROTHY G, BULLOCK,
MARTIN CROMARTI#, THOMAS
CHANDLER MUSE, and GLENNES
DODGE WEEKS

Plaintifis,
and No. 92-202-CIV-5~-BR
OAMES ARTHUR ART! POPE, BETTY
8, JUSTICE, DORIS LAIL, JOYCE
LAWING, NAT SWANSON, RICK
WOODRUFF, J. RALPH HIXON,

AUDREY MCGBANE, SIM A. DELAFP,
OR., RICHARD &. SAHLIE,
HOWARD B. SMITH, H. M, "TED"
TYLER, SHRRELL Lb. BLOUNT, ITI,
HOWARD DANIELEY, ANTHONY G,
POSEY, and RACHEL NANCE
RUMLEY

Plalntiff-Intervenors,
Vv.

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JAMES B. HUNT, in his official )
dapacity as Governor of the }
State of North Carolina, }
DENNIS A, WICKER, in his )
official vapacity as Lieutenant }
Governor of the State of North }
Carolina and President of the )
Senate, HAROLD J, BRUBAKER, in }
his official capacity as }
Speaker of the North Carolina )
House of Representatives, JANICH }
FAULKNER, in her official \
dapacity as Secretary of the }
State of North Carolina, }
THE NORTH CAROLINA STATH BOARD }
OF ELECTIONS. an offidial agency )
of the State of North Carolina, }
EDWARD J, HIGH, in hia official }
capacity as Chairman of the }
North Carolina State Board of }
Hlections, TRAN H. NELSON, in }
her official capacity as a }
member of the North Carolina }
State Board of Blections, LARRY )
LEAKE, in hie official capacity }
as a member of the North }
Carolina State Board of }
Blactions, DOROTHY PRESSER, in )
her official capacity as a )
member of the North Carolina }
State Board of Elections, and }
JUNE K, YOUNGBLOCD, in her )
official capacity as a )
member of the North Carolina )
State Hoard of Elections, }
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Defendants,

and

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RALPH GINGLES, VIRGINIA NEWELL,
GEORGE SIMKINS, N. A. SMITH,
RON LEEPER, ALFRED SMALLWOOD,
DR, OSCAR BLANXS, REVEREND DAVID
MOORE, ROBERT L. DAVIS, C. R,
WARD, JERRY B, ADAMS, JAN
VALDER, BERNARD OFFERMAN,
JENNIFER MCGOVERN, CEARLES
LAMBETH, ELLEN EMERSON, LAVONTA
ALLISON, GEORGE KNIGHT, LETO
COPELEY, WOODY CONNETTE,
ROBERTA WADDLE and WILLIAM

M. HODGES,

Defendant-Intervenorg,
Decision by Court, This action came to trial or hearing before the
Court. The tasues have been tried or heard and a decision has been
rendered.

TT IS ORDERED AND ADJUDGED that the State of North Carolina is
hereby enjoined from conducting any elections for congressional
offices under the redistricting plan enacted as 1991 N. C. Extra
Sess. Laws, Ch, 7, after those regularly acheduled for 1996,

IT IS FURTHER ORDERED AND ADJUDGED that the 1996 primary elections
already held for congressional offices are hereby validated and the
1996 general election for those offices may proceed as acheduled
under state law to elect members of Congress under the existing
redistricting pian.

IT IS ALSO ORDERED AND ADJUDGED that the matter of providing a
redistricting plan which for post-1996 congressional elections will
remedy the constitutional violation found by the Supreme Court is
veferred to the North Carolina General Assembly for exercise of its
primary jurisdiction. That .primary jurisdiction should be
exercised as expeditiously as possible by the adoption and
submiasion to this court for approval of a districting plan
effective for the purpose. Failing such a submission by April 1,
1997, this court will diacharge its obligation to. develop and put
into effect an appropriate remedial plan.

THIS JUDGMENT FILED AND ENTRRED ON JULY 31, 1996, WITH COPIES TO:

Robinsan GO, Everett
Altorney al Law
P, 0, Bax 386

Thomas A, Parr
Atiorney al Law
FP, 0, Box 19764
Raleigh, NC 27619-9764

Bdwin M, Spens, Jr,

Tiare B, Smiley

N, C, Department of Juste
P. 6, Box 623

Raleigh, NC 27602

Adam Stela

Anita Hodgkiss

Attorneys at Law

741 Kentlwonh Ave,, Sulte 300
Cherlotie, NO 28264

July 31, 1986 DAVID W. DANIEL, CLERK

ww Ana

(BY) Deputy Clerk

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